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                          IN THE UNITED STATES DIST '           ~~ d8&klf'1' GOUR r
                     FOR THE DISTRICT OF UTAH, CEN              ~iObAN~iI5N3:     49
                                                                            u
                                          *********

JANICE MAUGHN,                                  )
                                                )      Civil No. 2:l1-CV-0730-BSJ
                        Plaintiff,              )
                                                )      ORDtR
vs.                                             )
                                                )
OMNI CREDIT SERVICES OF                         )
FLORIDA, INC.,                                  )
                                                )
                       Defendant.               )

                                          ******* * *

         Based on Plaintiff's Notice of Voluntary Dismissal lIed by Plaintiff, by and through

counsel, on November 10,2011,

         IT IS HEREBY ORDERED that the above-entitled action is dismissed with prejudice,
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                                                            i
pursuant to Rule 41 (a)(l)(A)(i) of the Federal Rules of Civil Procedure, as amplified by Local

Rule DUCivR 54-l(d).
                          cf"-­
         DATED this ~ day of November, 2011.
